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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                             WAYCROSS DIVISION



             ANNIE ALEXANDER,
                                   Plaintiff,                       CIVIL ACTION NO.: CV510-006



             RITE AID PHARMACY; CAROL
             BRUCE; and VIVIAN RODRIGUEZ,
                                   Defendants.

                                                       ORDER


                      After an independent review of the record, the Court concurs with the Magistrate
             Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

             the Report and Recommendation of the Magistrate Judge is adopted as the opinion of the

             Court.
                      The captioned case is DISMISSED, without prejudice, as Plaintiff failed to file a
             complaint with the U.S. Equal Employment Commission prior to filing this action.

                      SO ORDERED, this      A day of                                 2010.




                                                             HONORABLE LISA GODBEY WOOD
                                                             UNITED STATES DISTRICT JUDGE




AO 72A
(Rev, 882)
